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                       IN THE UNITED STATES DISTRICT COURT

              IN AND FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


ANIMAL LEGAL DEFENSE FUND,                       STIPULATION RE EXPERT WITNESS
PEOPLE FOR THE ETHICAL TREATMENT                   DISCOVERY AND DISPOSITIVE
OF ANIMALS, AMY MEYER,                                     MOTIONS

                            Plaintiffs,

v.

GARY R. HERBERT, in his official capacity
as Governor of Utah; SEAN D. REYES, in his
official capacity as Attorney General of Utah,

                            Defendants.             Case No. 2:13-cv-00679-RJS-EJF
                                                         Judge: Robert J. Shelby
                                                    Magistrate Judge: Evelyn J. Furse
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       Pursuant to Federal Rule of Civil Procedure 29, Plaintiffs Animal Legal Defense Fund,

People for the Ethical Treatment of Animals, and Amy Meyer; and Defendants Gary Herbert and

Sean D. Reyes, by and through Undersigned Counsel, hereby stipulate and agree as follows:

       1. All parties waive the right to depose the other parties’ designated expert witnesses.

       2. Neither party shall supplement their expert witnesses’ reports, or provide

          supplementary expert witness testimony in any form, to support or oppose a party’s

          motion for summary judgment.

       3. This Stipulation does not affect any party’s right to challenge the admissibility of

          another party’s expert pursuant to Federal Rule of Civil Procedure 702. If an expert

          is challenged, the party may provide supplementary expert witness testimony to the

          Court for the purposes of the challenge only.

       4. This Stipulation does not affect any party’s right, at trial, to present the expert’s live

          testimony or to supplement the expert report, pursuant to the extent allowed by the

          Federal Rules of Civil Procedure.


       DATED: March 9, 2016.

                                              OFFICE OF THE UTAH ATTORNEY GENERAL


                                              /s/Kyle J. Kaiser
                                              DAVID N. WOLF
                                              KYLE J. KAISER
                                              DARIN B. GOFF
                                              Assistant Utah Attorneys General
                                              Attorneys for Defendants
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DATED: March 9, 2016                        PETA FOUNDATION

                                      By:     /s/ Matthew Strugar1_________________
                                              Matthew Strugar
                                              Attorney for Plaintiffs




1
 Electronically signed with permission of Mr. Strugar. Mr. Strugar further asserted that he has
authority to sign on behalf of all Plaintiffs.
